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                             UNITED STATES OF AMERICA
                           UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION




UNITED STATES OF AMERICA,           )
                                    )
            Plaintiff,              )                 Case No. 1:16-cr-00036
                                    )
v.                                  )                 Honorable Paul L. Maloney
                                    )
CURTIS JOHNSON,                     )
                                    )
            Defendant.              )
____________________________________)


                            REPORT AND RECOMMENDATION

       Pursuant to W.D. MICH. L.CR.R. 11.1, I conducted a plea hearing in the captioned case on

July 15, 2016, after receiving the written consent of defendant and all counsel. At the hearing,

defendant Curtis Johnson entered a plea of guilty to Count 3 of the Second Superseding Indictment

in exchange for the undertakings made by the government in the written plea agreement. In Count

3 of the Second Superseding Indictment, defendant is charged with attempted possession with intent

to distribute cocaine in violation of 21 U.S.C. §§ 846, 841(a) and (b)(1)(C). On the basis of the

record made at the hearing, I find that defendant is fully capable and competent to enter an informed

plea; that the plea is made knowingly and with full understanding of each of the rights waived by

defendant; that it is made voluntarily and free from any force, threats, or promises, apart from the

promises in the plea agreement; that the defendant understands the nature of the charge and penalties

provided by law; and that the plea has a sufficient basis in fact.
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       Accordingly, I recommend that defendant's plea of guilty to Count 3 of the Second

Superseding Indictment be accepted, that the court adjudicate defendant guilty, and that the written

plea agreement be considered for acceptance at the time of sentencing. Acceptance of the plea,

adjudication of guilt, acceptance of the plea agreement, and imposition of sentence are specifically

reserved for the district judge.



Date: July 15, 2016                            /s/ Phillip J. Green
                                              PHILLIP J. GREEN
                                              United States Magistrate Judge




                                      NOTICE TO PARTIES

       You have the right to de novo review of the foregoing findings by the district judge. Any
application for review must be in writing, must specify the portions of the findings or proceedings
objected to, and must be filed and served no later than14 days after the plea hearing. See W.D.
MICH. L.CR.R. 11.1(d).




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